          9:22-cr-00658-RMG          Date Filed 07/31/23      Entry Number 310-3         Page 1 of 4




THOMAS P. GRESSETTE, JR.
Direct: 843.727.2249
Email: Gressette@WGLFIRM.com

March 17, 2023

Via Email Only
Eddie Bennett, Esq.
bop01ewblawfirm@gmail.com

       RE:     Confidential Communication -- Moselle Closing

Dear Eddie:

In anticipation of the Moselle closings scheduled for March 22, 2023, Jordan Crapps on behalf of the Co-
Receivers and I on behalf of Palmetto State Bank (“PSB”) write to provide joint instructions for the distribution
of monies at closing necessary for the release of PSB’s mortgage lien against Moselle.

As you know, PSB has a mortgage lien against the properties that form Moselle. However, pursuant to a
settlement agreement entered into between PSB and the Co-Receivers, PSB granted to the Co-Receivers the
right to receive $150,000 of the principal amount of Loans 6978806 and 6987336 as well all the accrued
interest and late charges due as of closing. Therefore, PSB will release its mortgage lien once the Bank
receives $1,696,775.47 and the Co-Receivers receive $443,173.89 as detailed below:

   -   Palmetto State Bank shall receive:
       Portion of Principal, Loans 6978806 and 6987336               $ 1,690,856.22
       PSB Foreclosure Legal Fees                                    $     1,810.00
       2023 Insurance at $54.79 per diem1                            $     4,109.25
                              Total Due PSB at Closing               $ 1,696,775.47

   -   The Co-Receivers shall receive:
       Principal per settlement with PSB                             $    150,000.00
       Interest and Late Fees per settlement with PSB                $    293,173.89
                              Total Due Receivers at Closing         $    443,173.89

Attached are PSB Loan Payoff Statements for Loans 6978806 and 6987336. I have also confirmed that PSB
paid the 2020 real property taxes for the Moselle parcels. That amount is already included in the payoff
calculations shown in the Payoff Statements.




1 The amount due for force-placed insurance is calculated using a per diem rate of $54.97 from January 6,

2023, through March 22, 2023, or 75 days at $54.79 per day. PSB prepaid for a year of coverage but will seek
reimbursement of the excess amount from the insurer.


                                                                                                    EXHIBIT 3
         9:22-cr-00658-RMG       Date Filed 07/31/23      Entry Number 310-3         Page 2 of 4




1arch 1 7. 2023
Page 2 of 2

Please note that PSB will only release its mortgage lien when both Palmetto State Bank and the Co-Receivers
have received their funds.

Jordan and I thank you for your continued assistance and please let us know if you have any questions or
concerns. We are happy to schedule a conference call or to provide any additional information necessary to
keep the closing on schedule.

Sincerely,


Thomas P. Gressette, Jr.




                                                  JoraC’r(ps
                                                  G1Jician, White & Boyd P.A.
                                                  85-724- 1753
                                                  jcrapps(agwblavtinn.com
                                                  Counsel for Receivers

Enclosures (as stated)
                 9:22-cr-00658-RMG       Date Filed 07/31/23          Entry Number 310-3   Page 3 of 4

                PALMETTO STATE BANK-HAMPTON
                P.O. BOX 158
                HAMPTON SC 29924




                                                RICHARD ALEXANDER MURDAUGH
                                               PO BOX 457
                                               HAMPTON SC 29924



                                              Loan Payoff Statement

Loan Payoff for :                                           Loan Number:                                     6978806
RICHARD ALEXANDER MURDAUGH                                  Date Quoted:                                 Mar 07, 2023
PO BOX 4 57                                                 Payoff Good To:                              Mar 22, 2023
HAMPTON SC 29924                                            Method:                                               1/0

Collateral :R/E MTG ON 9 14.2 ACRES PLUS HOUSE & BARN(#6987336)COLLETON
& HAMPTON COUNTIES,(4157 Mozelle Rd., Islandton, SC)

Principa l :                                                                                             $840,320.62
Interest To Mar 22, 2023 :                                                                               $102,148.49
Late Charges:                                                                                              $5,202.82
Rogers Townsend LLC - Foreclosure Fee                                                                        $905.00
Net Amount Due:                                                                                      $94 8,576.93

                                              Additional Information

One Day's Interest:                                                                                          $189.94
                 9:22-cr-00658-RMG       Date Filed 07/31/23          Entry Number 310-3   Page 4 of 4

                PALMETTO STATE BANK-HAMPTON
                P.O. BOX 158
                HAMPTON SC 29924




                                               RICHARD ALEXANDER MURDAUGH
                                               PO BOX 457
                                               HAMPTON SC 29924



                                              Loan Payoff Statement

Loan Payoff for:                                            Loan Number :                                   6987336
RICHARD ALEXANDER MURDAUGH                                  Date Quoted:                             Mar 07, 2023
PO BOX 457                                                  Payoff Good To:                          Mar 22, 2023
HAMPTON SC 29924                                            Method:                                              1/ 0

Collateral: Multiple

Principal :                                                                                         $ 1,020,535.60
Interest To Mar 22, 2023:                                                                                $ 117,968.58
Late Charges:                                                                                             $52, 242.60
Fees Balance:                                                                                             $15,611.00
Rogers Townsend LLC - Foreclosure Fee                                                                        $905.00
Net Am ount Due:                                                                                   $ 1,207,262.78

                                              Additional Information

One Day's Interest:                                                                                          $ 132.81
